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                    THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                             ROME DIVISION

 TURF CUSHION, INC. and                   )
 PRODUCT AND TECHNICAL                    )
 SERVICES, INC. d/b/a PRODTEK,            )
                        Plaintiffs,       ) Case No. 4:21-cv-00204-LMM
                                          )
             v.                           )
                                          )
 THE RECREATIONAL GROUP,                  )
 LLC, and POLY-GREEN FOAM                 )
 HOLDINGS, LLC                            )
                                          )
                        Defendants.       )

     DEFENDANTS’ THE RECREATIONAL GROUP, LLC AND POLY-
        GREEN FOAM HOLDINGS, LLC INITIAL DISCLOSURES

        Pursuant to Rule 26 of the Federal Rules of Civil Procedure, Local Rule

26.1, and Form I.B in Appendix B to the Local Rules, Defendants The

Recreational Group, LLC and Poly-Green Foam Holdings, LLC provide the

following initial disclosures:

       (1) If the defendant is improperly identified, state defendant’s correct
identification and state whether defendant will accept service of an amended
summons and complaint reflecting the information furnished in this disclosure
response.

        Defendants are properly identified.

       (2) Provide the names of any parties whom defendant contends are necessary
parties to this action, but who have not been named by plaintiff. If defendant
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contends that there is a question of misjoinder of parties, provide the reasons for
defendant’s contention.

        Defendants are not aware of any parties whom they contend are

necessary parties to this action, but who have not been named by Plaintiffs.

Defendants do not contend that there is a question of misjoinder of parties.

      (3) Provide a detailed factual basis for the defense or defenses and any
counterclaims or crossclaims asserted by defendant in the responsive pleading.

        Plaintiffs Complaint fails to state any claim by ProdTek or by Turf

Cushion upon which relief may be granted. The allegations do not establish

that they are legally entitled to the relief they ask the Court to grant.

        Both ProdTek and Turf Cushion lack standing to assert these claims.

ProdTek has purportedly assigned its right to the patent and has no

expectation of exclusivity.

        Defendants have not infringed any claim of U.S. Patent No. 10,870,951,

at least because none of the Polygreen Pro foam pads possesses an HIC rating

of less than 1000 and a G-max rating of less than 200 based on ASTM F1292-

17 at a maximum fall height of from about 9 feet to about 12 feet. In addition,

Defendants do not make nor have they made nor imported any Polygreen Pro

foam pad.


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        U.S. Patent No. 10,870,951 is invalid. It is also unenforceable at least

because the applicant failed to satisfy the applicable duty of candor and good

faith to the Patent Office.

        Plaintiffs have an adequate remedy at law and thus injunctive relief is

not warranted.

        For Defendants’ First Counterclaim, none of the Polygreen Pro foam

pads identified by Plaintiffs in their complaint has “an HIC rating of less than

1000 and a G-max rating of less than 200 based on ASTM F1292-17 at a

maximum fall height of from about 9 feet to about 12 feet.” There is also a

difference between a foam pad and a larger system that incorporates a foam

pad. The accused Polygreen Pro foam pads do not meet all limitations of any

claim of U.S. Pat. No. 10,870,951. Plaintiffs did not test on the Polygreen Pro

foam pad. Further, the Recreational Group does not make, have made, use,

sell, offer for sale, or import the Polygreen Pro foam pads.

        For Defendants’ Second Counterclaim, the claims of U.S. Patent No.

10,870,951 are invalid under one or more provision of 35 U.S.C. § 112.

Plaintiffs’ argument that the Polygreen Pro pad must be tested with another

layer is contrary to the plain language of the claim and renders all claims of

the ‘951 Patent invalid as indefinite. The HIC ratings and G-max ratings for
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a complete system would differ from the ratings of the Polygreen Pad alone

and would depend on the substance and properties of the other layer.

Defendants do not sell turf or other overlaying layer to accompany the

Polygreen Pro pad.

        For Defendants’ Third Counterclaim, the claims of U.S. Patent No.

10,870,951 are invalid under 35 U.S.C. §§ 102 and/or 103.

        For Defendants’ Fourth Counterclaim, the patent is unenforceable

because the inventors, ProdTek, Turf Cushion, and/or attorneys representing

the applicant engaged in inequitable conduct at the Patent Office. For

example, the applicant failed to provide the examiner the contents of ASTM

F1292-17.

        For Defendants’ Fifth Counterclaim, this is an exceptional case because

Plaintiffs failed to conduct an adequate pre-trial investigation, have failed to

dismiss this action after receiving evidence that the accused products do not

meet the claim limitations, Plaintiffs’ claim construction positions are not

supported by the plain language of the claims and are invalid under 35 U.S.C.

§ 112, there was inequitable conduct associated with the patent, at least one of

the Plaintiffs has no right in the patent, and the Recreational Group does not

make, use, sell, offer for sale, or import any product.
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        For Poly-Green’s Sixth Counterclaim, Turf Cushion through internet

advertising and promotion has publicly made false or misleading statements

that misrepresent the nature of Turf Cushion or another’s goods. For

example, Turf Cushion states that its product “achieves the highest

performance in the industry as measured by GMAX and HIC readings.” But

the Turf Cushion™ underlay does not achieve the highest performance in the

industry as measured by GMAX and HIC readings. Turf Cushion has also

publicly stated that “Competitor products require stacking to reach

comparable levels of protection, creating a less stable and more time-

consuming installation.” But stacking does not create a less stable installation.

Turf Cushion has also stated that it uses a precision molded process but its

patent discloses and claims an extruded foam product. Poly-Green has been

injured or is likely to be injured by these statements.

        For Poly-Green’s Seventh Counterclaim, Turf Cushion’s statements

detailed above are unfair and deceptive trade practices that are likely to

injury Poly-Green and affect the consuming public’s perception of both

Plaintiffs’ and Poly-Green’s products.

        Defendants are also entitled to their attorney fees under O.C.G.A. § 13-

6-11 as Plaintiffs failed to conduct an adequate pre-trial investigation, have
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failed to dismiss this action after receiving evidence that the accused products

do not meet the claim limitations, Plaintiffs’ claim construction positions are

not supported by the plain language of the claims and are invalid under 35

U.S.C. § 112, there was inequitable conduct associated with the patent, at least

one of the Plaintiffs has no right in the patent, and the Recreational Group

does not make, use, sell, offer for sale, or import any product.

        Beyond what has already been stated, Defendants cannot reasonably

provide any greater detail because they have not yet taken any discovery in

this matter.

      (4) Describe in detail all statutes, codes, regulations, legal principles,
standards and customs or usages, and illustrative case law which defendant
contends are applicable to this action.

        Defendants contend that the following law is illustrative and applies to

this action (but will likely find additional law that is applicable to this action):

    • Title 35 of the U.S. Code, including 35 U.S.C. §§ 102, 103, 112, & 285.
    • U.S. Patent No. 10,870,951.
    • ASTM F1292-17.
    • eBay v. MercExchange, 547 U.S. 388 (2006).
    • 28 U.S.C. §§ 1331, 1338, 1367, 2201, & 2202.
    • 15 U.S.C. §§ 1117(a) & 1125(a).
    • Georgia Fair Business Practices Act, including O.C.G.A. § 10-1-399(a)
      & (c).
    • O.C.G.A. § 13-6-11.
    • All authorities relied upon by Plaintiffs.

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      (5) Provide the name and, if known, the address and telephone number of
each individual likely to have discoverable information that you may use to
support your claims or defenses, unless solely for impeachment, identifying the
subjects of the information. (Attach witness list to Initial Disclosures as
Attachment A.)

        See Attachment A.

        (6) Provide the name of any person who may be used at trial to present
evidence under Rules 702, 703, or 705 of the Federal Rules of Evidence. For all
experts described in Fed.R.Civ.P. 26(a)(2)(B), provide a separate written report
satisfying the provisions of that rule. (Attach expert witness list and written reports
to Initial Disclosures as Attachment B.)

        Defendants state that, at this time, they have not identified any expert

witnesses who may be used at trial. They will supplement this response at a

later date as required by the Federal Rules of Civil Procedure, the Local

Rules, and any Scheduling Order entered by this Court.

       (7) Provide a copy of, or description by category and location of, all
documents, data compilations or other electronically stored information, and
tangible things in your possession, custody, or control that you may use to support
your claims or defenses unless solely for impeachment, identifying the subjects of
the information. (Attach document list and descriptions to Initial Disclosures as
Attachment C.)

        See Attachment C.

      (8) In the space provided below, provide a computation of any category of
damages claimed by you. In addition, include a copy of, or describe by category
and location of, the documents or other evidentiary material, not privileged or
protected from disclosure on which such computation is based, including materials
bearing on the nature and extent of injuries suffered, making such documents or

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evidentiary material available for inspection and copying under Fed.R.Civ.P. 34.
(Attach any copies and descriptions to Initial Disclosures as Attachment D.)

        Defendant The Recreational Group, LLC claims its reasonable

attorneys fees. Defendant Poly-Green Foam Holdings, LLC claims its

reasonable attorneys fees, recovery based on profits, treble damages, and the

costs of this action. At this time, Defendants are unable to calculate the full

extent of these damages, at least in part, because some of the documents and

evidentiary material needed is in Plaintiffs’ possession.

       (9) If defendant contends that some other person or legal entity is, in whole
or in part, liable to the plaintiff or defendant in this matter, state the full name,
address, and telephone number of such person or entity and describe in detail the
basis of such liability.

        Defendants do not, at this time, contend that some other person or legal

entity is, in whole or in part, liable to the plaintiff or defendant in this matter

– there is no liability to the plaintiffs.

      (10) Attach for inspection and copying as under Fed.R.Civ.P. 34 any
insurance agreement under which any person carrying on an insurance business
may be liable to satisfy part or all of a judgment which may be entered in this
action or to indemnify or reimburse for payments to satisfy the judgment. (Attach
copy of insurance agreement to Initial Disclosures as Attachment E.)

        See Attachment E.




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                                  ATTACHMENT A

 POTENTIAL WITNESS                             POTENTIAL KNOWLEDGE
 Ron Bennett                                   Information regarding interactions
                                               between the parties, the PolyGreen Pro
                                               foam pads, the foam pad industry, and
                                               foam pad products
 Lynette Ogle                                  Information regarding interactions
                                               between the parties, the PolyGreen Pro
                                               foam pads, the foam pad industry, and
                                               foam pad products
 John Karr                                     Information regarding interactions
                                               between the parties, pre-suit diligence,
                                               and prosecution of U.S. Pat. No.
                                               10,870,951

        Defendants have not completed their investigation and have not taken any

discovery; therefore, there may be individuals who have information whose

identities have not yet been ascertained. Conversely, some of the listed individuals

may turn out to have no relevant, non-duplicative information. These Initial

Disclosures are made without waiver of, or prejudice to, privilege, work product,

or other protection, burden, confidentiality, or admissibility.




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                                ATTACHMENT B

        At this time, Defendants have not identified any expert witnesses who may

be used at trial.




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                                 ATTACHMENT C

1.      Communications between Plaintiffs and Defendants.

2.      Technical Specifications of PolyGreen Pro Foam Pads

3.      Test Results of the PolyGreen Pro Foam Pads

4.      Sealed Air Polyethylene Foam Product Information

        Defendants believe that documents relevant to this dispute in their custody

or control are located on Defendants’ computers and email systems.

        Documents in the custody or control of Plaintiffs or others are not listed.

Defendants incorporate by reference all documents, electronically stored

information, and tangible things disclosed by Plaintiffs in their Initial Disclosures

to the extent they contain information that Defendants may use to support their

defenses and counterclaims.

        Defendants reserve the right to supplement this list as discovery proceeds.

Their identification of categories of documents is not a representation that any

particular document exists or is in their possession, custody, or control.

Defendants’ Initial Disclosures are made without waiver of, or prejudice to, any

privilege, work product, or other protection, burden, confidentiality, or

admissibility.


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                                                               SAFETY DATA SHEET



                                            Polyethylene Foam
Version: 1                                                                             Preparation date:   2018-01-16


                                            1. IDENTIFICATION

 Product Name:              CELL-AIRE®, CORRO-FOAM®, CELLUPLANK®, ETHAFOAM®,
                            ETHAFOAM® 260CI, ETHAFOAM® HRC, ETHAFOAM® MRC, ETHAFOAM®
                            M SERIES, SYNERGY®, STRATOCELL®, STRATOCELL® PLUS,
                            STRATOCELL® RC, CELLU-CUSHION®, CELLU- CUSHION® 84, AND OPTI-
                            STEP™ POLYETHYLENE FOAMS. INCLUDES VARIOUS EXTRUDED
                            POLYETHYLENE FOAM PROFILES AND LAMINATES (DOLPHIN-PAD™).
 Product Code:              Not Applicable
 SDS#:                      PE-01
 Recommended Use:           Foam packaging used for cushioning and product protection.
 Uses Advised Against:      Uses other than those identified must be subject to appropriate testing and
                            verification by the purchaser.
 Manufacturer, Importer,    Sealed Air Corporation (US)
 Supplier:                  7665 National Turnpike, Building D
                            Louisville, KY 40214-4801
                            Phone: (502) 380-4333

 Emergency Telephone        Chemtrec 800-424-9300
 Number:

                                     2. HAZARD(S) IDENTIFICATION

 Classification of the substance or mixture:
 This product is not classified as hazardous according to OSHA 29CFR 1910.1200 (HazCom 2012-GHS).


Signal Word:                 Not applicable
Hazard Statements:           Not applicable
Precautionary statements: Wash hands thoroughly after handling.

                             IF IN EYES: Rinse cautiously with water for several minutes. Remove contact
                             lenses, if present and easy to do. Continue rinsing. If eye irritation persists: Get
                             medical advice/attention.

 Health hazards not otherwise classified (HHNOC) -   Not applicable
 Physical hazards not otherwise classified (PHNOC) - This polyethylene foam is made with a flammable
                                                     hydrocarbon blowing agent, most of which is
                                                     removed prior to shipment. However, residual
                                                     flammable vapors may gradually exhaust from the
                                                     foam during storage, fabrication or use. Avoid close
                                                     confinement of large foam quantities and sources of
                                                     ignition near the foam (i.e. smoking, sparks, and
                                                     flames). Do not store near heating equipment.
                                                     Heating equipment should be inspected regularly
                                                     during every heating season to check for pinholes or
                                                     larger defects in the combustion chamber. Burns
                                                     readily when exposed to plentiful and hot ignition
                                                     sources. Use self-contained breathing apparatus in
                                                     the event of fire.


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                            3. COMPOSITION/INFORMATION ON INGREDIENTS

 Classified Ingredients:                                                       CAS No.              Weight %
 Polyethylene                                                                  9002-88-4             85-100
 Hydrocarbon Gas                                                           75-28-5 or 74-98-6          0-5
 Glycerol Stearate                                                              Mixture                0-2
 Color Concentrate                                                              Variety                0-1




Exact percentages and CAS numbers are being w ithheld as trade secret information.
Occupational exposure limits, if available, are listed in Section 8.

                                              4. FIRST-AID MEASURES

Description of necessary first aid measures:
Eyes:        IF IN EYES: Rinse with water for several minutes. Remove contact lenses, if present and easy to
             do. Continue rinsing for at least 15 minutes. If eye irritation persists: Get medical advice/attention.

Skin:           IF ON SKIN: Wash with plenty of soap and water. If skin irritation occurs: Get medical
                advice/attention.

Inhalation: No information available.

Ingestion:      No information available.

Most important symptoms/effects:
 Eyes:       Dust may cause irritation or corneal injury due to mechanical action. Fumes released during hot
             operation may cause eye irritation.

 Skin:          Dust may cause skin irritation.

 Inhalation: Fumes generated under heat may cause eye irritation and respiratory irritation. Dust may cause
             irritation to upper respiratory tract and lungs.

 Ingestion:     No information available.

 Immediate medical attention and special treatment needed: Not applicable.
 Aggravated Medical Conditions: No information available.

                                            5. FIRE-FIGHTING MEASURES

Specific Methods:                     No special methods required.
Suitable Extinguishing Media:         Water, carbon dioxide (CO2) and dry chemical.
Specific Hazards:                     Trace amounts of residual blowing agent may be present in the foam.
                                      Mechanical and thermal processes may produce dust and flammable
                                      vapors which may be potential explosion hazards.

Special Protective Equipment for Fire Fighters: Fire-fighters should wear appropriate protective equipment
and self-contained breathing apparatus (SCBA) with a full face-piece operated in positive pressure mode. PVC
boots, gloves, safety helmet and protective clothing should be worn.

Unsuitable Extinguishing Media: No information available.


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                                   6. ACCIDENTAL RELEASE MEASURES

Personal precautions: No information available.
Environmental precautions: No information available.
Methods and materials for containment and cleaning up: No information available.

                                         7. HANDLING AND STORAGE

Handling: Fabricating operations which cut large numbers of interior foam cells, can release localized amounts
of flammable, residual blowing agent. Provide adequate ventilation to avoid the buildup of blowing agent
concentration.

Storage: This polyethylene foam is made with a flammable hydrocarbon blowing agent, most of which is
removed prior to shipment. However, residual flammable vapors may gradually exhaust from the foam during
storage, fabrication or use. Avoid close confinement of large foam quantities and sources of ignition near the foam
(i.e. smoking, sparks, and flames). Do not store near heating equipment. Heating equipment should be inspected
regularly during every heating season to check for pinholes or larger defects in the combustion chamber. Burns
readily when exposed to plentiful and hot ignition sources. Use self-contained breathing apparatus in the event of
fire.

Aerosol Level (if applicable): Not applicable.

                           8. EXPOSURE CONTROLS/PERSONAL PROTECTION

Exposure Guidelines:
 Ingredient(s)                                 CAS#                 OSHA-PEL                  ACGIH-TLV
 Hydrocarbon Gas                             75-28-5 or            Not established          1000 ppm (STEL)
                                              74-98-6                1000 ppm                  1000 ppm


Engineering Controls to Reduce Exposure: No special ventilation requirements. General room ventilation is
adequate.

Personal Protective Equipment:

 Eye protection:                No special requirements under normal use conditions.
 Hand protection:               No special requirements under normal use conditions.
 Skin and body protection:      No special requirements under normal use conditions.
 Respiratory protection:        No special requirements under normal use conditions.
 Hygiene measures:              No special requirements under normal use conditions.
For additional information obtain the Sealed Air Corporation “Polyethylene Foam Safety Guide.”

                                9. PHYSICAL AND CHEMICAL PROPERTIES
 Physical State: Solid plastic foam                  Flammability (solid, gas): Not available
 Color: Natural, Black, Light Green and other        Lower and upper explosive limits: *Hydrocarbon Gas:
 colors                                              LEL1.8% by volume and UEL 8.5% by volume
 Odor: Slightly aromatic (musty)                     Vapor Pressure: Not available
 Odor Threshold: Not available                       Vapor Density (Air = 1): >1
 pH: Not available                                   Relative Density: 20 - 200 Kg/m3
 Melting Point/Freezing Points: 230° F (110° C)      Solubility in Water: Not soluble
 Boiling/condensation point: Not available           Partition coefficient: n- octanol/water: Not available
 Flash point: Hydrocarbon Gas: -120 °F (-84 °C)      Auto-Ignition temperature: Not available
                                                     Decomposition temperature: Not available

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                                  9. PHYSICAL AND CHEMICAL PROPERTIES

 Evaporation rate: Not available                        Viscosity: Not available
   *Only trace amounts of residual blowing agent (under 2 wt%) present in the foam.

                                         10. STABILITY AND REACTIVITY

Reactivity: No specific test data related to reactivity available for this product or its ingredients.
Stability: Stable at room temperature.
Possibility of Hazardous Reactions: Not applicable.
Hazardous Decomposition Products: Not available.
Materials to Avoid: Contact with strong oxidants for extended time.
Conditions to Avoid: Avoid flame, very high temperature, and UV.

                                      11. TOXICOLOGICAL INFORMATION

Information on likely routes of exposure:
Eye contact, Skin contact, Inhalation, Ingestion.

Delayed, immediate, or chronic effects and symptoms from short and long-term exposure:

Eye Contact: None known.
Skin Contact: None known.
Inhalation: None known.
Ingestion: None known.
Sensitization: No information available.

Numerical measures of toxicity:
 ATE - Oral (mg/kg) Not available

Carcinogenicity:
 Ingredient(s)                                                 IARC        OSHA         NTP
 Not applicable                                                  --          --          --

                                         12. ECOLOGICAL INFORMATION

Ecotoxicity: No information available.
Persistence and Degradability: No information available.
Bioaccumulation: No information available.
Mobility in Soil: No information available.

                                        13. DISPOSAL CONSIDERATIONS

Waste from residues/unused products: This product, as sold, if discarded or disposed, is not a hazardous
waste according to Federal regulations (40 CFR 261.4 (b)(4)). Dispose in compliance with all Federal, state,
provincial and local laws and regulations.

Contaminated Packaging: Not applicable.

RCRA Hazard Class (undiluted product): Discarded product is not a hazardous waste under RCRA, 40 CFR
261, when disposed of in its purchased form.


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                                         14. TRANSPORT INFORMATION

DOT: Not regulated.
TDG: Not regulated.
IMDG: Not regulated.
IATA: Not regulated.
DOT (Ground) Bill of Lading Description: Not regulated.
IMDG (Ocean) Bill of Lading Description: Not regulated.

Note: Transport large quantities of this polyethylene foam in ventilated vehicles. Exercise caution when opening
vehicles containing this polyethylene foam to avoid all possible sources of ignition (i.e. lit tobacco products, sparks
and flames) near the foam and vehicle.
For additional information obtain the Sealed Air Corporation “Polyethylene Foam Safety Guide.”

                                        15. REGULATORY INFORMATION

International Inventories at CAS# Level:
All components of this product are listed on the following inventories: U.S.A. (TSCA), Canada (DSL/NDSL).

U.S. Regulations:

California Proposition 65:
 Ingredient(s)             CAS#
 Not applicable             --             This product is not subject to the reporting requirements under
                                           California's Proposition 65.

RIGHT TO KNOW (RTK):
  Ingredient(s)                               CAS#                MARTK      NJRTK        PARTK           RIRTK
  Not applicable                               --                   --         --           --              --

CERCLA/ SARA:
 Ingredient(s)                         CAS#          Weight % CERCLA/SARA             Section 302     Section 313
                                                                RQ (lbs.)              TPQ (lbs.)
  Not applicable                         --             --         --                      --                --

  Ingredient(s)                               CAS#                CAA HAP        CAA ODS            CWA Priority
                                                                                                     Pollutants
  Not applicable                                    --               --              --                  --

SARA 311/312 Hazard Categories:
 Immediate:                     --
 Delayed:                       --
 Fire:                          --
 Reactivity:                    --
 Sudden Release of Pressure:    -

Canadian Regulations:
CEPA DSL: All components are listed or exempted.

 NFPA:     Health:              0
           Flammability:        1
           Instability:         0
           Special Hazard:      None
           0=Minimal     1=Slight      2=Moderate        3=High      4=Extreme

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                                                      16. OTHER INFORMATION

Version Number: 3
Preparation date: 2018-01-16
SDS Code: PE-01

Reason for revision: Revised Section 1.
Prepared by: NAPCRA
Additional advice: Not applicable.

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User is responsible to evaluate all available information when using product for any particular use and to comply with all Fe deral, State,
Provincial and Local laws and regulations.




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Typical Physical Properties
 Physical Properties                                          Test Method                      Ethafoam® 150        Ethafoam® 180*         Ethafoam® 220*        Ethafoam® 400*         Ethafoam® 600       Ethafoam® 900


 Density (lb/ft3)                              ASTM D3575-08                                         1.5                    1.8                   2.2                   4.0                      6.0             9.6

 Compressive Strength (psi)
 vertical @ 25%                                ASTM D3575-08 - Suffix D                                6                     7                     9                     17                      28               60
 vertical @ 50%                                                                                       14                    15                    18                     28                      45               90

 Compressive Set (%)                           ASTM D3575-08 - Suffix B                              < 20                  < 20                  < 20                   < 15                    < 15             < 15

 Compressive Creep (%)
                                               ASTM D3575-08 - Suffix BB                       < 10 @ 1.3 psi        < 10 @ 2.0 psi        < 10 @ 2.5 psi         < 10 @ 5.0 psi            < 10 @ 10 psi   < 10 @ 20 psi
 (1000 hrs)

 Tensile Strength                                                                                                                                 32
                                               ASTM D3575-08 - Suffix T                               30                    31                                           50                      80              160
 (@ 1/2” Thickness)

 Tear Resistance (lb/in)                                                                                                                          10
                                               ASTM D3575-08 - Suffix G                               10                    10                                           19                      30               54
 (across grain @ 1/2” thickness)

 Cell Size (mm)                                ASTM D3576-04 - Modified                              2.5                    2.0                   1.5                   1.4                      1.2             1.1

 Water Absorption (lb/ft2)                     ASTM D3575-08 - Suffix L                              <0.3                  <0.3                  <0.3                   <0.2                    <0.2             <0.2

 Thermal Stability (%)                         ASTM D3575-08 - Suffix S                              <2                     <2                    <2                    <2                       <2              <2

 Static Decay* (sec)
                                               EIA Std. 541 - Append. F                              <2                     <2                    <2                    <2                       <2              <2
 (Anti-Static Grade)

 Surface Resistivity* (ohms/sq)                                                                  1.0 x 109 -            1.0 x 109 -           1.0 x 109 -           1.0 x 109 -              1.0 x 109 -      1.0 x 109 -
                                               EIA Std. 541 - Section 4.3
 (Anti-Static Grade)                                                                             1.0 x 1013             1.0 x 1013            1.0 x 1013            1.0 x 1013               1.0 x 1013       1.0 x 1013

 Thermal Conductivity (k value)                ASTM C518-91                                          .49                    .49                   .43                   .43                      .43             .43
 BTU-IN/HR-FT2-0F
 Thermal Resistivity (R value)                 ASTM C518-91                                          2.0                    2.0                   2.3                   2.3                      2.3             2.3
 HR-FT2-0F/BTU
The data presented for these products are for Ethafoam® polyethylene foam products. While values shown are typical of the products, they should not be construed as specification limits.                         * Anti-Static
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  Notes:




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                               ATTACHMENT D

N/A




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                                ATTACHMENT E

        Defendants have not identified any insurance policies that may be

implicated.




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        These disclosures are made on February 14, 2022.


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         Case 4:21-cv-00204-LMM Document 29 Filed 02/14/22 Page 23 of 23




                           CERTIFICATE OF SERVICE

        I hereby certify that on this 14th day of February, 2022, I served

DEFENDANTS’ THE RECREATIONAL GROUP, LLC AND POLY-

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